          Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 1 of 7



                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                    §
                                                          §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                §       Chapter 11 (Subchapter V)
                                                          §
         Debtor.                                          §


  DEBTOR’S APPLICATION FOR ORDER AUTHORIZING EMPLOYMENT OF RED
        BALLOON, LLC AS EXECUTIVE RECRUITER FOR THE DEBTOR
         This motion seeks an order that may adversely affect you. If you oppose the
         motion, you should immediately contact the moving party to resolve the dispute.
         If you and the moving party cannot agree, you must file a response and send a
         copy to the moving party. You must file and serve your response within 21 days
         of the date this was served on you. Your response must state why the motion
         should not be granted. If you do not file a timely response, the relief may be
         granted without further notice to you. If you oppose the motion and have not
         reached an agreement, you must attend the hearing. Unless the parties agree
         otherwise, the court may consider evidence at the hearing and may decide the
         motion at the hearing.


         Represented parties should act through their attorney.


 TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
 JUDGE:
         NOW COMES Free Speech Systems, LLC (“FSS” or the “Debtor”), the debtor and debtor-

in-possession in the above captioned case (the “Case”), and files this Application for Order

Authorizing Employment of Red Balloon, LLC as Executive Recruiter for The Debtor (the

“Application”) pursuant to sections 327(a), 330 and 1107(b) of title 11 of the United States Code (the

“Bankruptcy Code”) and Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) authorizing the employment and retention of Red Balloon, LLC (“Red Balloon”) as

executive recruiter for the Debtor. In support of this Application the Debtor relies upon the Declaration of

Aaron Youngren attached hereto as Exhibit “A” (the “Youngren Declaration”). In further support of this

Application, the Debtor respectfully represents as follows:



APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                         PAGE 1 OF 7
         Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 2 of 7


                                      JURISDICTION AND VENUE
                 This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409.

                 The statutory predicates for the relief requested herein are sections 327 and 328 of the

Bankruptcy Code. Such relief is also warranted under Bankruptcy Rules 2014 and 2016 and Local

Bankruptcy Rules 2014 and 2016.

                                              BACKGROUND
                 The Debtor filed a voluntary petition for relief under Chapter 11 Subchapter V of

the Bankruptcy Code on July 29, 2022[Docket No. 1]. On August 2, 2022, Melissa Haselden was

appointed Subchapter V Trustee [Docket No. 22]. On October 13, 2022, the Court entered an order

authorizing the employment of Patrick Magill (“Magill”) as Chief Restructuring officer (“CRO”)

[Docket No. 239] and assist Debtor and provide services during the pendency of the chapter 11

Subchapter V case including facilitating the reorganization of the Debtors’ assets. Jeff Shulse

(“Shulse”) has been employed as a contract employee since the Petition Date and has served in the

capacity of controller.

                 Both Magill an Shulse have been employed to provide services to the Debtor during

the pendency of this chapter 11 case and for as long thereafter as may be necessary to transition

the management of the Debtor to permanent employees fulfilling their necessary functions.

                                            RELIEF REQUESTED
                   By this Application, the Debtor seeks to employ and retain the RED BALLOON, to

conduct a search for qualified candidates to fill the following positions: (i) Chief Operating Officer and

(ii) Controller. Accordingly, the Debtor respectfully requests entry of an order, pursuant to sections 327(a)

and 328 of the Bankruptcy Code, authorizing the Debtor to employ and retain RED BALLOON as

executive recruiter, to provide services that will be necessary to a successful reorganization, as more fully

described below.

APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                           PAGE 2 OF 7
         Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 3 of 7


                                            BASIS FOR RELIEF
                  Section 327(a) of the Bankruptcy Code provides that subject to court approval, a debtor,

as a debtor in possession, “[m]ay employ one or more attorneys, accountants, appraisers, auctioneers, or

other professional persons, that do not hold or represent an interest adverse to the estate, and that are

disinterested persons, to represent or assist . . . in carrying out . . . duties under [the Bankruptcy Code].”

11 U.S.C. § 327(a).

                  Bankruptcy Code section 328(a), in turn, provides that, subject to court approval, the

employment of professional persons under section 327 of the Bankruptcy Code may be “on any reasonable

terms and conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage

fee basis, or on a contingent fee basis” subject to later re-evaluation by the Court. 11 U.S.C. § 328(a).

                  Bankruptcy Rule 2014 requires that an application for retention include “specific facts

showing the necessity for RED BALLOON to be employed, the reasons for the selection, the professional

services to be rendered, any proposed arrangement for compensation, and, to the best of the applicant’s

knowledge, all of RED BALLOON’s connections with the debtor, creditors, any other party in interest,

their respective attorneys and accountants, the United States trustee, or any person employed in the office

of the United States trustee.” Fed. Bankr. P. 2014.

                  Information regarding Red Balloon and its proposed retention is set forth below:

     •   Address of the Professional:                            104 South Main Street, Suite 200,
                                                                 Moscow, Idaho 83843

     •   Other Similar Professionals Employed:                   None
     •   Copy of the employment agreement:                       RedBalloon Recruiter        Order    Form
                                                                 Attached as Exhibit B

     •   Terms of Compensation:                                  Non-refundable Fee of $4,500.00 per
                                                                 position due in advance.

     •   Disclosure of Compensation                              Rule 2016 Disclosure not applicable to
                                                                 this professional.   However, RED
                                                                 BALLOON has not received any
                                                                 compensation from the Debtor pre-
                                                                 petition.



APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                            PAGE 3 OF 7
          Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 4 of 7


                 RED BALLOON provides recruiting and executive search expertise with a focus which

aligns with the values and focus of FSS. As such, Red Balloon is uniquely suited to identify applicants

suited to work for FSS.

                 The Debtor selected RED BALLOON to assist it in finding suitable candidates because of

its industry focus, its expertise and reputation. Accordingly, the Debtor respectfully submits that RED

BALLOON is well- qualified to provide its services to the Debtor in a cost-effective, efficient, and timely

manner.

                  In addition, RED BALLOON’s proposed fee structure is market- based, fair, and

reasonable under the standards set forth in section 328(a) of the Bankruptcy Code. The fee structure

appropriately reflects the nature and scope of services to be provided by the RED BALLOON, its experience

with respect to providing executive recruiting services, and the fee and expense structures typically used

by RED BALLOON and other leading executive search firms that bill their clients an outcome basis.

                  The Debtor respectfully submits that it should be authorized to retain and employ RED

BALLOON in accordance with the terms and conditions set forth in the Youngren Declaration. As

discussed below and in Youngren Declaration, RED BALLOON satisfies the disinterestedness standard

in section 327(a) of the Bankruptcy Code. RED BALLOON’s services are needed post-petition to continue

to assist with this Chapter 11 Case and to enable the Debtor to discharge its duties as debtor and debtor in

possession.

                 The Debtor submits that such professional services are necessary to the Debtor’s

management and restructuring of the Debtor’s business, and to maximize the value of the Debtor’s estate.

RED BALLOON has represented that it is willing and able to perform the above-referenced services.

                              PROFESSIONAL FEES AND EXPENSES
                 The Debtor has agreed to pay the compensation disclosed hereinabove and in the attached

employment agreement to RED BALLOON in consideration of the services to be performed by RED

BALLOON in this Chapter 11 Case and requests that the Court approve the payment of the compensation




APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                          PAGE 4 OF 7
         Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 5 of 7


in accordance with the terms of the proposed RedBalloon Recruiter Order Form attached to this

Application.

                  RED BALLOON has agreed to accept as compensation the amount provided for in the

employment agreement, subject to application to and approval of such compensation by the Court.

                 Other than as set forth above, no arrangement is proposed between the Debtor and RED

BALLOON for compensation to be paid in this case. RED BALLOON has not shared or agreed to share

any of its compensation with any other entity, except as permitted under section 504(b)(1) of the Bankruptcy

Code.

                              RED BALLOON’S DISINTERESTEDNESS
                  To the best of the Debtor’s knowledge, and except as otherwise set forth herein and in the

Youngren Declaration, RED BALLOON (i) does not have any connection with the Debtor, its’ affiliates,

its’ creditors, any other party in interest, their respective attorneys and accountants, the United States

Trustee for the Southern District of Texas, any person employed in the office of the same, any judge in the

Bankruptcy Court for the Southern District of Texas, or any person employed in the offices of the United

States Trustee; (ii) is a “disinterested person,” as such term is defined in Bankruptcy Code section 101(14),

as modified by Bankruptcy Code section 1107(b); and (iii) doe4 not hold or represent any interest adverse

to the Debtor’s estate.

                  The Debtor understands that except as otherwise set forth in the Youngren Declaration:

        a.       Neither RED BALLOON nor any professional at RED BALLOON holds or
                 represents an interest adverse to the Debtor’s estate;
        b.       Neither RED BALLOON nor any professional at RED BALLOON is or was a
                 creditor or an insider of the Debtor;
        c.       Neither RED BALLOON nor any professional at RED BALLOON is or was,
                 within two years before the Petition Date, a director, officer, or employee of the
                 Debtor; and
        d.       RED BALLOON does not have an interest materially adverse to the interest of the
                 estate or of any class of creditors or equity security holders, by reason of any direct
                 or indirect relationship to, connection with, or interest in the Debtor, or for any
                 other reason.
                  In view of the foregoing, RED BALLOON is a “disinterested person” within the


APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                                  PAGE 5 OF 7
         Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 6 of 7


meaning of section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy

Code.

                   RED BALLOON has informed the Debtor that throughout the Chapter 11 Case, RED

BALLOON will continue to conduct periodic conflicts analyses to determine whether it is performing or

has performed services for any significant parties in interest in these cases and that the RED BALLOON

will promptly update the Youngren Declaration to disclose any material developments regarding the

Debtor or any other pertinent relationships that come to the RED BALLOON’s attention.

                   The Debtor submits that the employment and retention of the RED BALLOON, on the

terms and conditions set forth herein, is in the best interests of the Debtor, its’ estate, creditors, stakeholders

and other parties in interest, and therefore should be approved.

                                               CONCLUSION

        WHEREFORE, the Debtor respectfully requests that this Court enter an order authorizing the

employment and retention of Red Balloon, LLC on the terms described above and granting such other

and further relief as may be just and proper.

          Respectfully submitted this October 16, 2023.

                                                     THE LAW OFFICES OF RAY BATTAGLIA, PLLC.
                                                     66 Granburg Circle
                                                     San Antonio, Texas 78218
                                                     Telephone (210) 601-9405
                                                     Email: rbattaglialaw@outlook.com


                                                     By: /s/ Raymond W. Battaglia
                                                            Raymond W. Battaglia
                                                            Texas Bar No. 01918055

                                                      ATTORNEYS FOR THE DEBTOR IN
                                                      POSSESSION




APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                                                 PAGE 6 OF 7
         Case 22-60043 Document 743 Filed in TXSB on 10/16/23 Page 7 of 7




                                    CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
        electronically upon those parties registered to receive electronic notice via the Court’s
        CM/ECF system, as set forth below.

                                             /s/ Raymond W. Battaglia
                                             Raymond W. Battaglia




APPLICATION TO EMPLOY EXECUTIVE RECRUITER                                               PAGE 7 OF 7
